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 8                        UNITED STATES DISTRICT COURT

 9             CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION

10

11   SARA B.,                              CASE NO. CV 20-8803-AS

12                    Plaintiff,

13        v.                                       JUDGMENT
14   KILOLO KIJAKAZI, ACTING
     COMMISSIONER OF SOCIAL
15   SECURITY,

16                    Defendant.

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18
           IT IS ADJUDGED that this action is DISMISSED with prejudice.
19

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         DATED:    October 13, 2021
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22                                                       /s/      _________
                                                      ALKA SAGAR
23                                           UNITED STATES MAGISTRATE JUDGE
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